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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No.: 21-cv-02770-SKC

  RANDY MCLEOD, individually and on behalf of all others similarly situated,

         Plaintiff,

  v.

  INNOVAGE HOLDING CORP.,
  MAUREEN HEWITT,
  BARBARA GUTIERREZ,
  J.P. MORGAN SECURITIES LLC,
  BARCLAYS CAPITAL INC.,
  GOLDMAN SACHS & CO. LLC,
  CITIGROUP GLOBAL MARKETS INC.,
  ROBERT W. BAIRD & CO. INCORPORATED,
  WILLIAM BLAIR & COMPANY, L.L.C.,
  PIPER SANDLER & CO.,
  CAPITAL ONE SECURITIES, INC.,
  LOOP CAPITAL MARKETS LLC,
  SIEBERT WILLIAMS SHANK & CO., LLC, and
  ROBERTS & RYAN INVESTMENTS, INC.,

         Defendants.


  MOTION OF THE TEXAS AND INDIANA PENSION FUNDS FOR APPOINTMENT AS
      LEAD PLAINTIFF AND FOR APPROVAL OF SELECTION OF COUNSEL
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         Movants El Paso Firemen & Policemen’s Pension Fund, San Antonio Fire & Police

  Pension Fund, and Indiana Public Retirement System (together, the “Texas and Indiana Pension

  Funds”) move this Court, under Section 27(a)(3)(B) of the Securities Act of 1933, 15 U.S.C. §

  77z-1(a)(3))(b), as amended by the Private Securities Litigation Reform Act of 1995 (“PSLRA”),

  for an order: (i) appointing the Texas and Indiana Pension Funds as Lead Plaintiff to oversee this

  putative class action on behalf of all persons and entities that purchased or otherwise acquired

  InnovAge Holding Corp. (“InnovAge” or the “Company”) common stock pursuant and/or

  traceable to the Registration Statement issued in connection with InnovAge’s March 2021 initial

  public offering (“IPO”); and (ii) approving proposed Lead Plaintiff the Texas and Indiana Pension

  Funds’ selection of Cohen Milstein Sellers & Toll PLLC (“Cohen Milstein”) as Lead Counsel for

  the Class and Fairfield and Woods, P.C. as Liaison Counsel.

                                          INTRODUCTION

         Under the PSLRA, the Court must appoint as lead plaintiff the movant who timely moves

  for appointment, possesses the largest financial interest in the outcome of the action, and satisfies

  the requirements of Rule 23 of the Federal Rules of Civil Procedure. 15 U.S.C. § 77z-

  1(a)(3)(B)(iii)(I). Under these standards, the Texas and Indiana Pension Funds should be

  appointed. Their motion is timely, as it is filed within 60 days of the notice required by the PSLRA.

  The Texas and Indiana Pension Funds also suffered combined losses of approximately $2,121,667

  as a result of the alleged misconduct and are unaware of any other movant with a greater loss. The

  Texas and Indiana Pension Funds also otherwise satisfy Rule 23. Thus, the Texas and Indiana

  Pension Funds are presumptively the “most adequate plaintiffs” and should be appointed as lead



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  plaintiff because they have “the largest financial interest in the relief sought by the class.” 15

  U.S.C. § 77z-1(a)(3)(B)(iii)(I)(bb).

         Along with claiming the largest financial interest, the Texas and Indiana Pension Funds

  satisfy the relevant requirements of Rule 23 because their claims are typical of those of the Class,

  and they will fairly and adequately represent all Class members. As explained in the accompanying

  Joint Declaration, see Ex. D to the Declaration of S. Douglas Bunch (“Bunch Decl.”), the El Paso

  Firemen & Policemen’s Pension Fund and San Antonio Fire & Police Pension Fund have a close,

  longstanding relationship that precedes this litigation and together with the Indiana Public

  Retirement System, have substantial successful joint service with other pension funds as lead

  plaintiff in other securities class actions. They are highly motivated to oversee counsel and to

  vigorously prosecute the action in the best interests of all Class members. See Subramanian v.

  Watford, No. 20-CV-2652, 2021 WL 1697147, at *3 (D. Colo. Apr. 29, 2021) (explaining that the

  “PSLRA explicitly permits a ‘group of persons’ to serve as lead plaintiff”). Indeed, the Texas and

  Indiana Pension Funds are precisely the type of lead plaintiff that Congress favored when it enacted

  the PSLRA, because they are sophisticated institutional investors with both the incentive and

  ability to supervise and monitor counsel. In re SandRidge Energy, Inc. Sec. Litig., No. CIV-12-

  1341-G, 2019 WL 4752268, at *4 (W.D. Okla. Sept. 30, 2019) (noting that the PSLRA “was

  designed to increase the likelihood that institutional investors will serve as lead plaintiffs”). The

  Texas and Indiana Pension Funds have selected Cohen Milstein, moreover, a law firm with

  substantial experience in successfully prosecuting securities class actions, to serve as Lead Counsel

  for the Class, and Fairfield and Woods, P.C. as Liaison Counsel.



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           Thus, the Texas and Indiana Pension Funds request that the Court appoint them Lead

  Plaintiff and approve their selection of Cohen Milstein as Lead Counsel and Fairfield and Woods,

  P.C. as Liaison Counsel.

                                     FACTUAL BACKGROUND

           As alleged in the Complaint, InnovAge operates a healthcare delivery platform that the

  Company claims takes a “patient-centered care approach” to improve its participants’ quality of

  care. ¶ 36.1 On February 8, 2021, InnovAge filed its Registration Statement on Form S-1 with the

  Securities & Exchange Commission, filing its final amendment and prospectus one month later.

  ¶¶ 38-39. In the IPO, InnovAge sold approximately 18,995,901 shares of common stock at $21.00

  per share, receiving $373.6 million in proceeds from the offering. ¶ 39.

           In the Registration Statement, InnovAge told investors that the Company was responsible

  for the “totality” of its “participants’ medical and social needs, including primary and specialist

  care,” as well as in-home care, hospital visits, nutrition, transportation to its care centers and

  medical appointments, and pharmacy and behavioral health support. ¶ 42. InnovAge touted its

  “interdisciplinary care teams” (or “IDTs”) as the “core” of the Company’s “comprehensive clinical

  model”:

           Our interdisciplinary care teams. Our IDTs are the core of our comprehensive clinical
           model. They design, manage and coordinate all aspects of each participant’s
           customized care plan. Our IDT structure is designed to enhance access to care for our
           participants and eliminate the information silos and gaps in care that often occur in
           traditional fee-for-service models. We are responsible for the totality of our
           participants’ medical and social needs, including primary and specialist care, in-home
           care, hospital visits, nutrition, transportation to our care centers and other medical
           appointments, pharmacy and behavioral health support.


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         Citations in the form “¶ __” are to the Complaint (Dkt. No. 1).
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  ¶ 42. InnovAge also claimed in its Registration Statement that “capitation agreements with

  government payors,” such as Medicare and Medicaid, are the source of nearly all of the Company’s

  revenue (“approximately 99.5%”):

         We directly contract with Medicare and Medicaid on a per member, per month
         (“PMPM”) basis, which creates recurring revenue streams and provides significant
         visibility into our revenue growth trajectory. We receive 100% of the pooled capitated
         payment to directly provide or manage the healthcare needs of our participants. By
         proactively providing high-quality care and addressing risks related to social
         determinants of health, we have demonstrated our ability to reduce avoidable utilization
         of high-cost care settings, such as hospitals and nursing homes. As a result, we create
         a surplus that can be used to invest in refining our care model and providing even
         greater social supports for our participants. These investments further improve
         participants’ experiences and health outcomes, which we believe will result in more
         savings that will drive our profitable growth. The virtuous cycle we have created
         enables us to consistently deliver high-quality care, achieve high participant
         satisfaction and retention, and attract new participants.

  ¶ 43. As a result, the Company explained, InnovAge’s “revenues and operations are dependent

  upon a limited number of government payors,” particularly Medicare and Medicaid:

         Our operations are dependent on a limited number of government payors, particularly
         Medicare and Medicaid, with whom we directly contract to provide services to
         participants. We generally manage our contracts on a state by state basis, entering into
         a separate contract in each state. When aggregating the revenue associated with
         Medicare and Medicaid by state, Colorado, California and Virginia accounted for a
         total of approximately 81.5% and 81.8% of our capitation revenue for the year ended
         June 30, 2020 and the six months ended December 31, 2020, respectively. A majority
         of our revenues will continue to be derived from a limited number of key government
         payors, which may terminate their contracts with us upon the occurrence of certain
         events. The sudden loss of any of our government contracts or the renegotiation of any
         of our contracts could adversely affect our operating results. In the ordinary course of
         business, we engage in active discussions and renegotiations with government payors
         in respect of the services we provide and the terms of our agreements. As the states
         respond to market dynamics and financial pressures, and as government payors make
         strategic budgetary decisions in respect of the programs in which they participate,
         certain government payors may seek to renegotiate or terminate their agreements with
         us. Any reduction in the budgetary appropriations for our services, whether as a result
         of fiscal constraints due to recession, emergency situations such as the COVID-19
         pandemic, changes in policy or otherwise, could result in a reduction in our capitated
         fee payments and possibly loss of contracts.
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   ¶ 44. But on September 21, 2021, after the market closed, InnovAge revealed that the Centers for

  Medicare and Medicaid Services (“CMS”) had “determined to freeze new enrollments” at the

  Company’s Sacramento center because of “deficiencies” detected in a recent audit. ¶ 46. Those

  deficiencies related to, among other things, “failures to provide covered services, provide

  accessible and adequate services, manage participants’ medical situations, and oversee use of

  specialists.” Id. InnovAge had omitted any mention of these issues in its Registration Statement;

  indeed, the risks the Company warned about above were not merely hypothetical, but imminent.

  On this news, InnovAge’s stock price fell by $2.90 per share, one fourth of the Company’s price

  at the time, closing at $8.75 per share on September 22, 2021. ¶ 47.

          Two weeks later, on October 9, 2021, the Colorado Gazette reported that the Colorado

  Attorney General had launched an investigation of InnovAge, explaining that the Company had

  “paid back $13.6 million this year to Colorado’s Medicaid program amid audits by state and federal

  regulators.”2 In the wake of the news in Colorado, a state that generated half of InnovAge’s revenue

  for the fiscal year that ended in June 2021, the Company’s spokesman issued a statement

  acknowledging that they could not “predict the outcome of this investigation.” Id. Noting that the

  recent concerns mirrored ones raised internally at the Company since 2017, the Colorado Gazette

  quoted a former executive who described InnovAge’s business practices as “a horror show.” Id.

          By the time this action was filed, the Company’s stock was trading at $6.61 per share,

  representing a 69% decline from the $21 per share IPO price. ¶ 48. As a result of Defendants’


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       Christopher Osher, Colorado Attorney General launches probe of Denver-based home health
  provider, Colorado Gazette (Oct. 9, 2021), https://gazette.com/colorado-watch/colorado-attorney-
  general-launches-probe-of-denver-based-home-health-provider/article_e63bc8bc-2883-11ec-
  be09-eb2a86b003cc.html.
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   wrongful acts and omissions, and the precipitous decline in the market value of the Company’s

   common shares, the Texas and Indiana Pension Funds and other Class members have suffered

   significant losses and damages.

                                             ARGUMENT

   I. The Texas and Indiana Pension Funds Should Be Appointed Lead Plaintiff Because They
      Are the Most Adequate Plaintiffs Under the PSLRA

           The Texas and Indiana Pension Funds should be appointed Lead Plaintiff because they are

   the movant “most capable of adequately representing the interests of class members.” 15 U.S.C. §

   77z-1(a)(3)(B)(I). The PSLRA establishes a rebuttable presumption that the “most adequate

   plaintiff” is the “person or group of persons” that (i) timely moved for appointment, (ii) possesses

   the “largest financial interest” in the relief sought by the class, and (iii) otherwise satisfies the

   requirements of Rule 23. 15 U.S.C. § 77z-1(a)(3)(B)(iii)(I); see also Wolfe v. AspenBio Pharma,

   Inc., 275 F.R.D. 625, 628 (D. Colo. 2011). The Texas and Indiana Pension Funds satisfy all three

   criteria.

       A. The Texas and Indiana Pension Funds Satisfied the Procedural Requirements of the
          PSLRA

           Consistent with the requirements of the PSLRA, the Texas and Indiana Pension Funds

   timely moved for appointment as lead plaintiff by filing this motion within sixty days of the

   publication of notice that this action had been filed. 15 U.S.C. § 77z-1(a)(3)(A). On October 14,

   2021, counsel for the plaintiff in this case published a notice over Business Wire, announcing that

   a securities class action had been filed against the defendants and advising that Class members had

   until December 13, 2021 to move to be appointed as Lead Plaintiff. See Bunch Decl., Ex. A.

   Consistent with that notice, the Texas and Indiana Pension Funds then filed this motion and

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   submitted certifications attesting to their willingness to serve as representative for the Class. Bunch

   Decl., Ex. B. The Texas and Indiana Pension Funds thus satisfy the PSLRA’s procedural

   requirements to serve as Lead Plaintiff for the Class.

      B. The Texas and Indiana Pension Funds Have the Largest Financial Interest in the
         Action

          As of the filing of this motion, the Texas and Indiana Pension Funds believe that they have

   the largest financial interest in the outcome of this action. “Though the statute gives no guidance

   as to how a plaintiff’s financial interest should be calculated, courts routinely look to the movant’s

   financial loss as the most significant factor.” Subramanian, 2021 WL 1697147, at *2 (citing cases).

   Indeed, “the best yardstick by which to judge ‘largest financial interest’ is the amount of loss,

   period.” Id. (quoting In re Bally Total Fitness Sec. Litig., No. 04-cv-3530, 2005 WL 627960, at

   *4 (N.D. Ill. Mar. 15, 2005)); see also In re Spectranetics Corp. Sec. Litig., No. 08-CV-02048,

   2009 WL 1663953, at *1 (D. Colo. June 15, 2009).

          The Texas and Indiana Pension Funds qualify for appointment as Lead Plaintiff,

   collectively incurring losses of approximately $2,121,667 from their purchases of InnovAge

   common stock pursuant or traceable to the Registration Statement. See Bunch Decl., Ex. C.

   Further, in addition to their sizable collective losses, each of the three members of the group

   likewise has a large financial interest in this litigation, which shows that they are both collectively

   and individually prepared to protect the interests of the Class. See Bunch Decl., Ex. C. The Texas

   and Indiana Pension Funds are also unaware of any other individual or group who purchased more

   shares or incurred greater losses pursuant or traceable to the Registration Statement. Because the

   Texas and Indiana Pension Funds possess the largest financial interest in the outcome of this


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   litigation, they may be presumed to be the “most adequate” plaintiffs. 15 U.S.C. 77z-

   1(a)(3)(B)(iii)(I)(bb).

       C. The Texas and Indiana Pension Funds Satisfy the Requirements of Rule 23

           Along with possessing the largest financial interest in the outcome of the litigation, the

   Texas and Indiana Pension Funds likewise “satisfy the requirements of Rule 23 of the Federal

   Rules of Civil Procedure.” 15 U.S.C. 77z-1(a)(3)(B)(iii)(I)(cc). To assess whether a movant

   satisfies these requirements, courts have recognized that “[o]nly Rule 23’s typicality and adequacy

   requirements are pertinent for determining a lead plaintiff.” Medina v. Clovis Oncology, Inc., No.

   15-CV-2546-RM-MEH, 2016 WL 660133, at *3-4 (D. Colo. Feb. 18, 2016) (citing Wolfe, 275

   F.R.D. at 627-28). The Texas and Indiana Pension Funds satisfy both.

           First, the Texas and Indiana Pension Funds’ claims are typical of those of the purported

   Class. Medina, 2016 WL 660133, at *4. “Typicality exists where the ‘injury and the conduct are

   sufficiently similar.’” United Food and Com. Workers Int’l Union Loc. 464A v. Pilgrim’s Pride

   Corp., No. 20-CV-01966-RM-MEH, 2021 WL 1022704, at *2 (D. Colo. Mar. 17, 2021). Here, the

   Texas and Indiana Pension Funds, “like other proposed class members,” bought stock pursuant or

   traceable to the Registration Statement “at a price bolstered by Defendants’ misrepresentations and

   omissions, causing damages when the illegal activity was exposed.” Id.; see also Subramanian,

   2021 WL 1697147, at *3 (finding investor group met typicality requirement because the group

   “purchased or otherwise acquired” the common stock at issue “during the Class Period at prices

   alleged to have been artificially inflated because of Defendants’ false and misleading statements”).

           Second, the Texas and Indiana Pension Funds likewise satisfy the adequacy requirement,

   because they will “fairly and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4).

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   This requirement is met when the presumptive lead plaintiff can show (i) “the absence of potential

   conflict between the named plaintiffs and the class members,” and (ii) “that counsel chosen by the

   representative parties is qualified, experienced and able to vigorously conduct the proposed

   litigation.” Pilgrim’s Pride, 2021 WL 1022704, at *2. The Texas and Indiana Pension Funds are

   adequate representatives because there is no conflict between their interests and those of the Class,

   and their losses show that they have a sufficient interest in the outcome of this litigation. To further

   demonstrate their adequacy, the Texas and Indiana Pension Funds have accompanied their motion

   with a Joint Declaration that affirms their understanding of the duties they owe to the Class and

   their commitment to oversee the prosecution of this action in the best interests of the

   Class. See Joint Declaration ¶¶ 7-15; see also In re SemGroup Energy Partners, L.P. Sec. Litig.,

   No. 08-CV-425, 2008 WL 4826318, at *2 (N.D. Okla. Oct. 27, 2008) (declaration from movant

   attesting that it will “oversee the activities of counsel to secure the best possible recovery for the

   class” supports finding of adequacy). The Texas and Indiana Pension Funds intend to fulfill these

   duties by maximizing the potential recovery for all Class members, actively participating in

   litigation decisions, consulting their chosen counsel about litigation strategy, and ensuring counsel

   conducts the litigation in a vigorous, cost-effective matter. See Joint Declaration ¶¶ 7-15. Indeed,

   the two Texas funds have a close, longstanding relationship and history of working together

   successfully, including their joint service as lead plaintiffs in prior federal securities class actions.

   See Vaitkuviene v. Syneos Health, Inc., No. 5:18-CV-29-H-KS, 2018 WL 3460409, at *1

   (E.D.N.C. May 29, 2018) (appointing the San Antonio Fire & Police Pension Fund and the El Paso

   Firemen & Policemen’s Pension Fund as lead plaintiff in securities class action).



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           Indeed, the “PSLRA contemplates specifically that a ‘group of persons’ may serve as lead

   plaintiff.” Mishkin v. Zynex, Inc., No. 09-cv-00780-REB-KLM, 2010 WL 749864, at *2 (D. Colo.

   Mar. 3, 2010) (the PSLRA “allows a small group of related investors to consolidate their individual

   losses in seeking designation as lead plaintiff”); Mariconda v. Farmland Partners Inc., No. 18-cv-

   02104, 2018 WL 6307868, at *3 (D. Colo. Dec. 3, 2018) (noting the “generally accepted

   proposition that a group of persons may aggregate their losses in calculating a plaintiff’s financial

   interest in the litigation”). Indeed, “[s]mall, cohesive groups,” like the Texas and Indiana Pension

   Funds, “offer public policy advantages over a single individual because groups can share

   resources, offer a diversity of views, and protect against reliance on one individual.” Subramanian,

   2021 WL 1697147, at *3. For this reason, numerous courts in this District and Circuit have

   appointed as lead plaintiff groups of investors that have a substantial financial stake in the case

   and are cohesive enough to oversee counsel—including groups that included the Texas and Indiana

   Pension Funds. See City of Birmingham Firemen’s and Policemen’s Supp. Pension Sys. v.

   Pluralsight, Inc., No. 1:19-CV-128, 2020 WL 1452136, at *2 (D. Utah Mar. 25, 2020) (concluding

   that Indiana Public Retirement System, together with the Public School Teachers’ Pension and

   Retirement Fund of Chicago, were “two sophisticated institutional investors that are adequate

   representatives of the class”); see also In re Molycorp, Inc. Sec. Litig., No. 12-CV-0292-WJM-

   KMT, 2012 WL 13013602, at *2 (D. Colo. May 29, 2012) (collecting cases appointing groups of

   investors as lead plaintiff).

           Furthermore, as sophisticated institutional investors, the Texas and Indiana Pension Funds

   are precisely “the type of investor Congress prefers as lead plaintiff” in securities class actions. In

   re Millennial Media, Inc. Sec. Litig., 87 F. Supp. 3d 563, 570 (S.D.N.Y. 2015). Courts have

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   consistently recognized that the PSLRA favors institutional investors because they are the “most

   likely to have expertise in the securities market and real financial interests in the integrity of the

   market.” In re Razorfish, Inc. Sec. Litig., 143 F. Supp. 2d 304, 308-09 (S.D.N.Y. 2001).

          Finally, the Texas and Indiana Pension Funds have demonstrated their adequacy by

   selecting Cohen Milstein to serve as Lead Counsel to represent the Class. See Joint Declaration ¶¶

   13-14. As discussed more fully below, Cohen Milstein is highly qualified and experienced in the

   area of securities class action litigation and has repeatedly demonstrated an ability to conduct

   complex securities class action litigation effectively.

      D. The Texas and Indiana Pension Funds Will Fairly and Adequately Represent the
         Interest of the Class and Are Not Subject to Unique Defenses

          The presumption in favor of appointing the Texas and Indiana Pension Funds as Lead

   Plaintiff may be rebutted only upon “proof” by another class member that the presumptively most

   adequate plaintiff (i) “will not fairly and adequately protect the interest of the class,” or (ii) “is

   subject to unique defenses that render such plaintiff incapable of adequately representing the

   class.” 15 U.S.C. § 77z-1(a)(3)(b)(iii)(I). “As the class member with the largest loss,” the Texas

   and Indiana Pension Funds “have at least as much incentive as the other class members to pursue

   a recovery vigorously.” Medina, 2016 WL 660133, at *3 (appointing group of investors as lead

   plaintiff in securities class action). Further, the Texas and Indiana Pension Funds are unaware of

   any unique defenses that defendants could raise that would render it inadequate to represent the

   Class. The Texas and Indiana Pension Funds should thus be appointed Lead Plaintiff. Medina,

   2016 WL 660133, at *3-4 (finding lead plaintiff movant to be adequate because there was “nothing

   on the record” showing that the movant or its counsel “suffer from any conflicts of interest with

   other class members”).
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   II. The Texas and Indiana Pension Funds’ Selection of Counsel Should Be Approved

          Under the PSLRA, the lead plaintiff selects lead counsel subject to the Court’s approval.

   15 U.S.C. § 77z-1(a)(3)(B)(v). In general, though, courts should not disturb a proposed lead

   plaintiff’s choice unless “necessary to protect the interests of the plaintiff class.” 15 U.S.C. § 77z-

   1(a)(3)(B)(iii)(II)(aa). The Texas and Indiana Pension Funds have selected Cohen Milstein to serve

   as Lead Counsel for the Class. Cohen Milstein, a highly experienced firm in the area of securities

   litigation and class actions, has successfully prosecuted many securities class actions on behalf of

   investors, as detailed in the firm’s resume. Bunch Decl., Ex. E. See, e.g., New Jersey Carpenters

   Health Fund v. The Royal Bank of Scotland Grp., plc, No. 08-cv-05310 (S.D.N.Y.) ($275 million

   settlement in mortgage-backed securities class action against the Royal Bank of Scotland); In re

   BP Sec. Litig., No. 4:10-MD-02185 (S.D. Tex.) ($175 million settlement in securities class action

   against BP). Due to its qualifications and vigorous advocacy for investors, courts in this Circuit

   have recognized Cohen Milstein as adequate and qualified class counsel in securities class actions.

   Pluralsight, 2020 WL 1452136, at *2 (appointing Cohen Milstein to serve as lead counsel because

   the firm is “experienced and there is no reason for the court to presume they will not vigorously

   pursue this litigation”); In re Oppenheimer Rochester Funds Group Sec. Litig., No. 09-MD-02063,

   2009 WL 4016635, at *9 (D. Colo. Nov. 18, 2009) (appointing Cohen Milstein as lead counsel).

   As a result of Cohen Milstein’s extensive experience in litigation involving issues like those raised

   in this case, Cohen Milstein has the skill and knowledge to enable it to prosecute this action

   effectively.




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                                           CONCLUSION

          For these reasons, the Texas and Indiana Pension Funds request that the Court appoint them

   as Lead Plaintiff for the Class and approve their selection of Cohen Milstein as Lead Counsel and

   Fairfield and Woods, P.C. as Liaison Counsel.




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    Date: December 13, 2021           Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 13th day of December, 2021, I electronically filed a true and

   correct copy of the foregoing MOTION OF THE TEXAS AND INDIANA PENSION FUNDS

   FOR APPOINTMENT AS LEAD PLAINTIFF AND FOR APPROVAL OF SELECTION

   OF COUNSEL with the Clerk of the Court using the CM/ECF system which will send notification

   of such filing to all parties via the CM/ECF system.

                                                s/ Jason B. Robinson
                                                Jason B. Robinson




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